                      Exhibit 5




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https://www.instagram.com/p/Cu3DXfdJYMo/
https://www.instagram.com/p/Cr55MIkAjeX/
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https://www.instagram.com/p/B8eoBqZpHqD/    Filed 09/18/23   Page 4 of 6 PageID #: 39
https://www.instagram.com/p/BLSJnYujf49/
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